ACIP Current Membership Roster | CDC                                           Page 1 of 5
           Case 1:20-cv-00840-BKS-CFH Document 61-5 Filed 09/04/20 Page 1 of 5




   Advisory Committee on Immunization Practices (ACIP)

 ACIP Committee Members
 See also: Archived ACIP Members Roster


 Printer friendly version of ACIP Members list ‬ [8 pages]


 The ACIP includes 15 voting members responsible for making vaccine recommendations. The Secretary of the U.S.
 Department of Health and Human Services (DHHS) selects these members following an application and nomination
 process. Fourteen of the members have expertise in vaccinology, immunology, pediatrics, internal medicine, nursing,
 family medicine, virology, public health, infectious diseases, and/or preventive medicine; one member is a consumer
 representative who provides perspectives on the social and community aspects of vaccination.


 In addition to the 15 voting members, ACIP includes 8 ex officio members who represent other federal agencies with
 responsibility for immunization programs in the United States, and 30 non-voting representatives of liaison organizations
 that bring related immunization expertise.


 Members and representatives serve on the Committee voluntarily.



 ACIP Members
  Name                             Institution                                                    Term


  Chair:


  ROMERO, José R., MD, FAAP        Arkansas Children’s Hospital Research Institute                10/31/2018-
                                   Little Rock, AR                                                06/30/2021


  Executive Secretary:


  COHN, Amanda, MD                 Centers for Disease Control and Prevention
                                   Atlanta, GA


  Members:


  ATMAR, Robert L., MD             Baylor College of Medicine                                     7/1/2016 – 6/30/2020
                                   Houston, TX


  AULT, Kevin A., MD, FACOG,       University of Kansas Medical Center                            10/26/2018 –
  FIDSA                            Kansas City, KS                                                6/30/2022


  BAHTA, Lynn, RN, MPH, CPH        Minnesota Department of Health                                 7/1/2019 – 6/30/2023
                                   Saint Paul, Minnesota




https://www.cdc.gov/vaccines/acip/members/index.html                                                              2/14/2020
ACIP Current Membership Roster | CDC                                           Page 2 of 5
           Case 1:20-cv-00840-BKS-CFH Document 61-5 Filed 09/04/20 Page 2 of 5

  Name                       Institution                                                  Term


  BELL, Beth P., MD, MPH     University of Washington                                     7/1/2019 – 6/30/2023
                             Seattle, WA


  BERNSTEIN, Henry, DO,      Zucker School of Medicine at Hofstra/Northwell Cohen         11/27/2017-6/30/2021
  MHCM, FAAP                 Children’s Medical Center
                             New Hyde Park, NY


  FREY, Sharon E., M.D.      Saint Louis University Medical School                        11/27/2017-6/30/2021
                             Saint Louis, MO


  HUNTER, Paul, MD           City of Milwaukee Health Department                          7/1/2016 – 6/30/2020
                             Milwaukee, WI


  LEE, Grace M., MD, MPH     Lucile Packard Children’s Hospital                           7/1/2016 – 6/30/2020
                             Stanford University School of Medicine
                             Stanford, CA


  MCNALLY, Veronica V., JD   Franny Strong Foundation                                     10/31/2018 –
                             West Bloomfield, Michigan                                    6/30/2022


  POEHLING, Katherine A.,    Wake Forest School of Medicine                               7/1/2019 – 6/30/2023
  MD, MPH                    Winston-Salem, NC


  SÁNCHEZ, Pablo J., MD      The Research Institute at Nationwide Children’s Hospital     7/1/2019 – 6/30/2023
                             Columbus, Ohio


  SZILAGYI, Peter MD, MPH    University of California, Los Angeles (UCLA)                 7/1/2016 – 6/30/2020
                             Los Angeles, California


  TALBOT, Helen Keipp, MD,   Vanderbilt University                                        10/29/2018 –
  MPH                        Nashville, TN                                                6/30/2022




 Ex Officio Members: September 2018-June 2019
  Ex Officio Members                   Agency


  HANCE, Mary Beth                     Centers for Medicare and Medicaid Services (CMS)


  DEUSSING, Eric, MD, MPH              Department of Defense (DoD)


  KIM, Jane A., MD, MPH                Department of Veterans Affairs (DVA)


  FINK, Doran, MD,Ph.D.               Food and Drug Administration (FDA)


  WEISER, Thomas, MD, MPH              Indian Health Service (IHS)




https://www.cdc.gov/vaccines/acip/members/index.html                                                     2/14/2020
ACIP Current Membership Roster | CDC                                           Page 3 of 5
           Case 1:20-cv-00840-BKS-CFH Document 61-5 Filed 09/04/20 Page 3 of 5

  Ex Officio Members                       Agency


  BECKHAM, Tammy                           Office of Infectious Disease and HIV/AIDS Policy (OIDP)


  BEIGEL, John, M.D.                       National Institutes of Health (NIH)




 Liaison Representatives: September 2018-June 2019
  Liaison Representatives   Institution                                          Organization


  ROCKWELL, Pamela G.,      University of Michigan Medical School                American Academy of Family Physicians
  D.O.                      Ann Arbor, MI                                        (AAFP)


  MALDONADO, Yvonne,        Stanford University School of Medicine               American Academy of Pediatrics (AAP)
  MD                        Stanford, CA


  KIMBERLIN, David, MD      The University of Alabama at Birmingham              American Academy of Pediatrics (AAP) –
                            School of Medicine                                   Red Book Editor
                            Birmingham, AL


  LÉGER, Marie-Michèle,     American Academy of Physician Assistants             American Academy of Physician
  MPH, PA-C                 Alexandria, VA                                       Assistants (AAPA)


  EVEN, Susan, MD           University of Missouri                               American College Health Association
                            Columbia, MO                                         (ACHA)


  HAYES, Carol E., CNM,     Planned Parenthood Southeast                         American College of Nurse Midwives
  MN, MPH                   Atlanta, GA                                          (ACNM)


  MEHARRY, Pamela M.,                                                            American College of Nurse Midwives
  PHD, CNM                                                                       (ACNM) (alternate)


  O’NEAL ECKERT, Linda,     University of Washington                             American College of Obstetricians and
  MD                        Seattle, WA                                          Gynecologists (ACOG)


  GOLDMAN, Jason M., MD,    Florida Atlantic University                          American College of Physicians (ACP)
  FACP                      Boca Raton, Florida


  SCHMADER, Kenneth, MD     Duke University and Durham VA Medical                American Geriatrics Society (AGS)
                            Centers
                            Durham, NC


  COYLE, Rebecca, MSEd      AIRA                                                 American Immunization Registry
                            Washington, DC                                       Association (AIRA)


  FRYHOFER, Sandra          Emory University School of Medicine                  American Medical Association (AMA)
  Adamson., MD              Atlanta, GA




https://www.cdc.gov/vaccines/acip/members/index.html                                                                 2/14/2020
ACIP Current Membership Roster | CDC                                           Page 4 of 5
           Case 1:20-cv-00840-BKS-CFH Document 61-5 Filed 09/04/20 Page 4 of 5

  Liaison Representatives     Institution                                 Organization


  RITTLE, Charles (Chad),     Chatham University                          American Nurses Association (ANA)
  DNP, MPH, RN                Pittsburgh, PA


  GROGG, Stanley E., DO       Oklahoma State University-Center for        American Osteopathic Association (AOA)
                              Health Sciences
                              Tulsa, OK


  FOSTER, Stephan L.,         University of Tennessee Health Sciences     American Pharmacists Association (APhA)
  PharmD                      Center
                              Memphis, TN


  FINLEY, Christine, RN,      Vermont Department of Health                Association of Immunization Managers
  MPH                         Burlington, VT                              (AIM)


  McKINNEY, W. Paul, MD       University of Louisville School of Public   Association for Prevention Teaching and
                              Health and Information Sciences             Research (APTR)
                              Louisville, KY


  SMITH, Nathaniel, MD,       Arkansas Department of Health               Association of State and Territorial Health
  MPH                         Little Rock, AR                             Officials (ASTHO)


  ARTHUR, Phyllis A., MBA     Immunotherapeutics and Diagnostics          Biotechnology Industry Organization (BIO)
                              Policy
                              Washington, DC


  HAHN, Christine, MD         Idaho Department of Health and Welfare      Council of State and Territorial
                              Boise, ID                                   Epidemiologists (CSTE)


  QUACH, Caroline, MD,        Montreal-CHUM                               Canadian National Advisory Committee
  MSc                         Montreal, Québec, Canada                    on Immunization (NACI)


  BAKER, Carol J., MD         Baylor College of Medicine                  Infectious Diseases Society of America
                              Houston, TX                                 (IDSA)


  ZAHN, Matthew, MD           Orange County Health Care Agency            National Association of County and City
                              Santa Ana, CA                               Health Officials (NACCHO)


  DUCHIN, Jeffrey, MD         Public Health – Seattle and King County     National Association of County and City
                              Seattle, WA                                 Health Officials (NACCHO) (alternate)


  STINCHFIELD, Patricia A.,   Children’s Hospitals and Clinics of         National Association of Pediatric Nurse
  RN, MS, CPNP                Minnesota                                   Practitioners (NAPNAP)
                              St. Paul, MN


  SCHAFFNER, William, MD      Vanderbilt University School of Medicine    National Foundation for Infectious
                              Nashville, TN                               Diseases (NFID)




https://www.cdc.gov/vaccines/acip/members/index.html                                                           2/14/2020
ACIP Current Membership Roster | CDC                                           Page 5 of 5
           Case 1:20-cv-00840-BKS-CFH Document 61-5 Filed 09/04/20 Page 5 of 5

  Liaison Representatives   Institution                                        Organization


  DURAN, Luis, MD           Ministry of Health / Secretaría de Salud           National Immunization Council and Child
                            Mexico                                             Health Program, Mexico


  WHITLEY-WILLIAMS,         University of Medicine and Dentistry of            National Medical Association (NMA)
  Patricia, MD              New Jersey
                            New Brunswick, NJ


  O’LEARY, Sean, MD, MPH    University of Colorado School of Medicine          Pediatric Infectious Diseases Society
                                                                               (PIDS)


  SAWYER, Mark H., MD       University of California, San Diego School         Pediatric Infectious Diseases Society
                            of Medicine                                        (PIDS) (alternate)
                            San Diego, CA


  JOHNSON, David R, MD,     Sanofi Pasteur                                     Pharmaceutical Research and
  MPH                       Swiftwater, PA                                     Manufacturers of America (PhRMA)


  MIDDLEMAN, Amy B., MD,    University of Oklahoma Health Sciences             Society for Adolescent Health and
  MSEd., MPH                Center                                             Medicine (SAHM)
                            Oklahoma City, OK


  WEBER, David, MD, MPH     University of North Carolina                       Society for Healthcare Epidemiology of
                            Chapel Hill, NC                                    America (SHEA)


                                                                                                Page last reviewed: October 17, 2019
                                                           Content source: National Center for Immunization and Respiratory Diseases




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